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IN THE UNITED sTATEs DISTRICT COURT i"`

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FOR THE WESTERN DISTRICT 0F TENNESSEE 05 m 13 AH 10: ,5

EASTERN DIVISION

IN THE MATTER OF:

RAMSDALE O’DENEAL
No. 05-10018-'[`

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SECOND ORDER TO SHOW CAUSE

 

On May 6, 2005, Mr. Ramsdale O’DeNeal, counsel for defendant, was scheduled to
appear in this court at 9:00 a.m. for a report date in USA vs. Tirnothy Isaih Camp_bell, 05-
10018. Mr. 0 ’DeNeal did not appear at the appointed time, although his client Timothy Isaih
Campbell did appear. The court ordered Mr. R.amsdale O’DeNeal to show cause Within ten
days Why he Should not be held in contempt

The court then rescheduled the report date for Timothy Isaih Campbell for 9: 15 a.m.
on May 13, 2005. Mr. O’DeNeal did not appear for that report date and the court issued a
Second Show Cause Order requiring Mr. O’DeNeal to appear before this court at 8:45 a.m.
on Monday, May 16, 2005, to show cause why he should not be held in contempt for failure
to appear at the May 13 report date.

The United States Marshal’s Service is hereby ordered to personally serve a copy of

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this order upon Mr. O’DeNeal. Failure ot` Mr. O’DeNeal to appear at 8:45 a.m. on May 16,

2005, will result in an order for the immediate arrest of Mr. O’DeNeal.

IT IS SO ORDERED.

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JA S D. TODD

 

 

TED sTATEs DISTRICT JUDGE
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DATE l

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case l:05-CR-10018 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

Ramsdale O'DeNeal
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Honorable .l ames Todd
US DISTRICT COURT

